                                 Case 22-10538-MFW                      Doc 1        Filed 06/14/22           Page 1 of 13


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Electric Last Mile, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1055 W Square Lake Road
                                  Troy, MI 48098
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Oakland                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                     12900 McKinley Highway Mishawaka, IN
                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://electriclastmile.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                  Case 22-10538-MFW                     Doc 1         Filed 06/14/22              Page 2 of 13
Debtor    Electric Last Mile, Inc.                                                                    Case number (if known)
          Name


7.   Describe debtor's business       A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                      B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              3361

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
                                          Yes
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
                                          Yes
    business partner or an
    affiliate of the debtor?




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                       Case 22-10538-MFW                     Doc 1        Filed 06/14/22              Page 3 of 13
Debtor    Electric Last Mile, Inc.                                                                      Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor      See Schedule 1, attached                                      Relationship


                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                      No
                                                      Yes Insurance agency
                                                              Contact name
                                                              Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                           50-99                                           5001-10,000                                50,001-100,000
                                           100-199                                         10,001-25,000                              More than 100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                            $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 22-10538-MFW                       Doc 1        Filed 06/14/22               Page 4 of 13


 Debtor    Electric Last Mlle, Inc.
                                                                                                     Cue number (If lcnown)
           Name
                                                                                                                              ---- ---- ---- -
           Request for Relief, Declaration, and Signature,

 WARNING - Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy
                                                                                                         case can result In fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
 17. Declaration and signature
     of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
     representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information In this petition and have a reasonable bellef that the information is true and
                                                                                                                                                 correct.
                                  I declare   under penalty of perjury that the foregoing Is true and corred.
                                  Executed on          06/14/2022
                                                     MM/00/YY YY


                              XTo~~Pa uittioriiad 'iiruiBSe riiatl\ieoi ~ior--                             ..;R,:.::obe:::;.:.:rt.:..S;:;..;o:;.;.n:as_ _ _ _ _ _ _ _ __
                                  ~                                                                         Printed name
                                  Title   CFO and Treasurer




18. Signature of attorney    X   Isl Kara Hammond Coyle                                                              06/14/2022
                                  Signature of attorney for debtor                                          Date--- ~..,.,.,,. ,,..,,,..,. --------- -
                                                                                                               MM /DD/ YYYY
                                  Kara Hammond Coyle
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmlngton, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contad phone        (302) 571-6800               Email address     kcoyle@ycatcom

                                 4410 DE
                                 Bar number and State
                        Case 22-10538-MFW            Doc 1    Filed 06/14/22      Page 5 of 13




                                                     SCHEDULE 1


                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below filed a petition in this court for relief under
         chapter 7 of title 11 of the United States Code.

         1.     Electric Last Mile, Inc.

         2.     Electric Last Mile Solutions, Inc.




29403165.1
               Case 22-10538-MFW           Doc 1     Filed 06/14/22     Page 6 of 13




                             UNANIMOUS WRITTEN CONSENT
                                       OF THE
                                 BOARD OF DIRECTORS
                                         OF
                               ELECTRIC LAST MILE, INC.

                                            June 12, 2022

               The undersigned, being all of the directors (the “Board”) of Electric Last Mile, Inc.,
a Delaware corporation (the “Company”), hereby vote for, adopt, approve and consent to the
following resolutions by written consent without a meeting in accordance with Section 141(f) of
the Delaware General Corporation Law and Section 3.16 of the Company’s Bylaws:

               WHEREAS, the Board has considered the financial and operational condition of
the Company and the Company’s business on the date hereof, the assets of the Company, the
current and long-term liabilities of the Company, and the recommendations of the Company’s legal
and restructuring advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
under the provisions of title 11 of the United States Code (the “Bankruptcy Code”); and

               WHEREAS, the Board has determined that it is in the best interest of the Company
and the Company’s stockholders, stakeholders, creditors, and other interested parties to commence
a case under chapter 7 of the Bankruptcy Code;

               NOW, THEREFORE, BE IT:

                RESOLVED, that, in the judgment of the Board, it is desirable and in the best
interests of the Company and the Company’s stockholders, stakeholders, creditors, and other
interested parties that a voluntary petition (the “Petition”) be filed by the Company under the
provisions of chapter 7 of the Bankruptcy Code; and it is further

                 RESOLVED, that the officers of the Company, including but not limited to the
president, treasurer, secretary and any vice presidents, assistant treasurers and assistant secretaries
(each, an “Authorized Officer,” and collectively, the “Authorized Officers”) be, and each hereby
is, authorized, directed, and empowered (i) to execute and verify the Petition and all documents
ancillary thereto, and to cause the Petition to be filed with the United States Bankruptcy Court for
the District of Delaware, such Petition to be filed at such time as an Authorized Officer shall
determine and to be in the form approved by the Authorized Officer, with the execution thereof by
any such Authorized Officer being conclusive evidence of the approval thereof by the Authorized
Officers; (ii) to make or cause to be made prior to the execution thereof any modifications to the
Petition or such ancillary documents that, in the judgment of the Authorized Officers, may be
necessary, appropriate, or desirable, and (iii) to execute, verify, and file or cause to be filed all
other petitions, schedules, lists, motions, applications, declarations, affidavits, and other papers or
documents that, in the judgment of the Authorized Officers, may be necessary, appropriate, or
desirable in connection with the foregoing; and it is further

              RESOLVED, that Young Conaway Stargatt & Taylor, LLP is authorized and
empowered to represent the Company as its general bankruptcy counsel on the terms set forth in
its engagement letter with the Company, which is hereby ratified and approved, and to represent
                Case 22-10538-MFW          Doc 1     Filed 06/14/22     Page 7 of 13




and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights, including, without limitation, and the preparation of
certain documents to be filed simultaneously with the Petition or during the bankruptcy case; and
it is further

                RESOLVED, that the Authorized Officers be, and each hereby is, authorized,
directed, and empowered from time to time to take such actions and execute and deliver such
documents as may be required or as the Authorized Officers may determine to be necessary,
appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions or to obtain
the relief sought thereby, including without limitation the execution and delivery of any petitions,
schedules, lists, declarations, affidavits, and other papers or documents, with all such actions to be
taken in such manner, and all such petitions, schedules, lists, declarations, affidavits, and other
papers or documents to be executed and delivered in such form as the Authorized Officers shall
approve, the taking or execution thereof by any Authorized Officer being conclusive evidence of
the approval thereof by the Authorized Officers; and it is further

               RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of such resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified.



                           [Remainder of Page Intentionally Left Blank]




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           Case 22-10538-MFW    Doc 1   Filed 06/14/22   Page 8 of 13




               IN WITNESS WHEREOF, the undersigned members of the Board hereby
execute this written consent effective as of the date first written above.


                                    BOARD OF DIRECTORS:




                                    Shauna F. McIntyre
                            Case 22-10538-MFW                Doc 1       Filed 06/14/22        Page 9 of 13


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                          )
         In re:                                                           )   Chapter 7
                                                                          )
         ELECTRIC LAST MILE SOLUTIONS, INC.,1                             )   Case No. 22-_____ (___)
                                                                          )
                           Debtor.                                        )
                                                                          )
                                                                          )
                                                                          )
         In re:                                                           )   Chapter 7
                                                                          )
         ELECTRIC LAST MILE, INC.,                                        )   Case No. 22-_____ (___)
                                                                          )
                           Debtor.                                        )
                                                                          )

                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
                                 TO FED. R. BANKR. P. 1007(a)(1)

                             Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, Electric

         Last Mile Solutions, Inc. and its affiliated debtor (each a “Debtor,” and together, the “Debtors”) in

         the above-captioned chapter 7 cases hereby states that the following is a list of corporations, other

         than governmental units, that directly or indirectly own 10% or more of any class of interests in

         the Debtors:

                             1.       The following corporations own more than 10% of Debtor Electric Last

         Mile Solutions, Inc.:

             AJ Capital Investment, LLC                                 Luo Pan Investment II, LLC
             5000 Charing Cross Road                                    5000 Charing Cross Road
             Bloomfield Hills, MI 48304                                 Bloomfield Hills, MI 48304


                             2.       Electric Last Mile Solutions, Inc. wholly owns Debtor Electric Last Mile,

         Inc.


             1
               The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
             identification number, are as follows: Electric Last Mile Solutions, Inc. (8711), and Electric Last Mile, Inc. (0357).
29396558.1
             The Debtors’ principal place of business is 1055 W Square Lake Road, Troy, Michigan 48098.
                            Case 22-10538-MFW                 Doc 1        Filed 06/14/22         Page 10 of 13




   Fill in this information to identify tho case.

  Debtor name       Electric Last Mlle Solutions, Inc.

  United States Bankruptcy Court for the:   DISTRICT OF DELAWARE ____________
                                            __ ______,a.a...,a;;;.;;;;;;;..;.;;.;.;..:;.;;:::.

  Case number (If known)
                                                                                                                          D    Check if this is an
                                                                                                                               amended filing


 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

 An Individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and llabllltles, any other document that requires a declaration that Is not Included In the document, and any
 amendments of those documents. This form must state the Individual'• position or relationship to the debtor, the Identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, conceallng property, or obtaining money or property by fraud In
 connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.


               Declaration and signature

       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        D       Schedule AIB: AssettrReal and Personal Property (Official Form 206AIB)
        D       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        D       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        D       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        D       Schedule H: Codebtors (Official Form 206H)
        D       Summary of Assets and Uabilities for Non-Individuals (Official Form 206Sum)
        D       Amended Schedule
        □       Chapter 11 or Chapter 9 cases: Ust of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        £81     Other document that requires a declaration _C_o_.rp_o_ra_te_Ow
                                                                            __n_e rs
                                                                                   _ h
                                                                                     _ l
                                                                                       _ .._p_S"""ta�te"""m_ e.;..n'""t;;...________________

       I declare under penalty of perjury that the foregoing is true and

        correct. Executed on      June 14, 2022


                                                            Rob Song
                                                            Printed name

                                                            CFO and Treasurer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                           Case 22-10538-MFW                     Doc 1        Filed 06/14/22             Page 11 of 13




                                      THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                                )
         In re:                                                                 )     Chapter 7
                                                                                )
         ELECTRIC LAST MILE SOLUTIONS, INC.,1                                   )     Case No. 22-_____ (___)
                                                                                )
                           Debtor.                                              )
                                                                                )
                                                                                )
                                                                                )
         In re:                                                                 )     Chapter 7
                                                                                )
         ELECTRIC LAST MILE, INC.,                                              )     Case No. 22-_____ (___)
                                                                                )
                           Debtor.                                              )
                                                                                )


                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,
             Young Conaway Stargatt & Taylor, LLP (“YCST”) is counsel for the above-captioned
             debtors (the “Debtors”) and that compensation paid to YCST within one year before the
             filing of the petition in bankruptcy, or agreed to be paid to YCST, for services rendered
             or to be rendered on behalf of the Debtors in contemplation of or in connection with the
             bankruptcy cases is as follows:

             For legal services, YCST has agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . $150,000

             Prior to the filing of this statement YCST has received . . . . . . . . . . . . . . . . . $150,000

             Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0

             2.        The source of the compensation paid to YCST was Debtor Electric Last Mile, Inc.

             3.     YCST has not agreed to share the above-disclosed compensation with any other
             person unless they are a partner, counsel, or associate of YCST.




             1
               The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s
             federal tax identification number, are as follows: Electric Last Mile Solutions, Inc. (8711), and Electric Last
             Mile, Inc. (0357). The Debtors’ principal place of business is 1055 W Square Lake Road, Troy, Michigan
             48098.
29401902.1
                       Case 22-10538-MFW          Doc 1       Filed 06/14/22   Page 12 of 13




             4.     In return for the above-disclosed fee, YCST has agreed to pay the filing fees
             required to commence these bankruptcy cases and has further agreed to render legal
             services relating to these bankruptcy cases, including:

                    a.      Analysis of the Debtors’ financial situation, and rendering advice to the
             Debtors in determining whether to file bankruptcy petitions;

                    b.    Preparation and filing of voluntary petitions in bankruptcy and certain
             other documents that may be required;

                    c.     Representation of the Debtors at the meeting of creditors, and any
             adjourned hearings thereof.

             5.     By agreement with the Debtors, the above-disclosed fee does not include the
             representation of the Debtors in adversary proceedings and other contested bankruptcy
             matters; nor does it include any future non-bankruptcy representation.




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                                                          2
                      Case 22-10538-MFW         Doc 1       Filed 06/14/22   Page 13 of 13




                                              CERTIFICATION

                           I hereby certify that the foregoing is a complete statement of any
             agreement or arrangement for payment to YCST for representation of the Debtors in
             these bankruptcy proceedings.


              Dated: Wilmington, Delaware            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                     June 14, 2022

                                                     /s/ Kara Hammond Coyle
                                                     Kara Hammond Coyle (No. 4410)
                                                     Joseph M. Mulvihill (No. 6061)
                                                     Rodney Square
                                                     1000 N. King Street
                                                     Wilmington, Delaware 19801
                                                     Telephone: (302) 571-6600
                                                     Facsimile: (302) 571-1253

                                                     Counsel for the Debtors




29401902.1
                                                        3
